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Exhibit B

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et ai,,' Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Sapna! eee” epee” gee” ee”

ORDER AUTHORIZING ENTRY INTO
AMENDMENTS TO THE COMANCHE PEAK JOINT VENTURE AGREEMENTS

Upon the motion (the “Motion” of the above-captioned debtors and debtors in
possession (collectively, the “Debtors”) for entry of an order (this “Order”) pursuant to
section 363(b) of the Bankruptcy Code, authorizing the Debtors to enter into the Amendments,
all as more fully set forth in the Motion and the Frenzel Declaration; and the Court having found
that it has jurisdiction over this matter pursuant to 28 U.S.C, §§ 157 and 1334; and the Court
having found that this is a core proceeding pursuant to 28 U.S.C, § 157(b)(2); and the Court
having found that venue of this case and the Motion in this district is proper pursuant to
28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief requested in the Motion
is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and the
Debtors having provided appropriate notice of the Motion and the opportunity for a hearing on
the Motion under the circumstances; and the Court having considered the Motion and the Frenzel

Declaration; and the Court having determined that the legal and factual bases set forth in the

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the debtors’ claims and noticing agent at http://Awww.efhcaseinfo.com.

2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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Motion establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT;
1. The Motion is granted as set forth herein.
2. The Debtors are authorized to enter into the Amendments modifying the Joint

Venture Agreements.
3. The Amendments are integrated upon the execution of the Integration Letter.

4, Notwithstanding anything to the contrary herein or in the Amendments, no right

or_asset_ of NEFH |, NEFH Ul or Comanche Peak Nuclear Power Company LUC shall be

|

transferred to a Debtor pursuant to this.

certain rights to use the Company Intellectual Property and the Basis Documents (each as

defined in the Intellectual Property and Delivery Agreement attached as Exhibit | to Exhibit B to

the Motion), and (i copies of the Basis Documents.

5, Notwithstanding the relief granted in this Order or any actions taken pursuant to

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NEFH IL on the one hand, of a claim, as defined in section 101(5) of the Bankruptcy Code,

against another Debtor, NEFH Lor NEFH IL, on the other,

4,7,..... lhe Debtors are authorized to take ail actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

4.8. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order
shall be immediately effective and enforceable upon its entry.

69... he Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Dated:
Wilmington, Delaware

THE HONORABLE CHRISTOPHER 8. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

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